     Case 2:24-cv-08855-FMO-PVC      Document 1   Filed 10/15/24   Page 1 of 10 Page ID
                                           #:1


     SO. CAL. EQUAL ACCESS GROUP
 1   Jason J. Kim (SBN 190246)
     Jason Yoon (SBN 306137)
 2   Kevin Hong (SBN 299040)
     101 S. Western Ave., Second Floor
 3   Los Angeles, CA 90004
     Telephone: (213) 205-6560
 4   cm@SoCalEAG.com
 5   Attorneys for Plaintiff
     SAM BENFORD
 6
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                Case No.:
     SAM BENFORD,
11                Plaintiff,                      COMPLAINT FOR INJUNCTIVE
                                                  RELIEF AND DAMAGES FOR DENIAL
12         vs.                                    OF CIVIL RIGHTS OF A DISABLED
                                                  PERSON IN VIOLATIONS OF
13
                                                  1. AMERICANS WITH DISABILITIES
14                                                ACT, 42 U.S.C. §12131 et seq.;
     JOSEFINA MOREN D/B/A LEON'S
15   FLOWERS & SUPPLIES; JEFFREY M.               2. CALIFORNIA’S UNRUH CIVIL
     EHRENBERG; and DOES 1 to 10,                 RIGHTS ACT;
16
                  Defendants.                     3. CALIFORNIA’S DISABLED
17                                                PERSONS ACT;
18                                                4. CALIFORNIA HEALTH & SAFETY
                                                  CODE;
19
                                                  5. NEGLIGENCE
20
21
22
23
           Plaintiff SAM BENFORD (“Plaintiff”) complains of Defendants JOSEFINA
24
     MOREN D/B/A LEON'S FLOWERS & SUPPLIES; JEFFREY M. EHRENBERG; and
25
     DOES 1 to 10 (“Defendants”) and alleges as follows:
26
     //
27
     //
28
     //


                                         COMPLAINT - 1
     Case 2:24-cv-08855-FMO-PVC        Document 1      Filed 10/15/24    Page 2 of 10 Page ID
                                             #:2



 1                                              PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   hemiplegic due to a stroke, and is substantially limited in his ability to walk. Plaintiff
 4   requires the use of a wheelchair at all times when traveling in public.
 5            2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a florist (“Business”)
 7   located at or about 111 N. Ditman Ave., Los Angeles, California.
 8            3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11   Court to amend this Complaint when the true names and capacities have been
12   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
13   fictitiously named Defendants are responsible in some manner, and therefore, liable to
14   Plaintiff for the acts herein alleged.
15            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20            5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                 JURISDICTION AND VENUE
25            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.).
28




                                              COMPLAINT - 2
     Case 2:24-cv-08855-FMO-PVC        Document 1     Filed 10/15/24    Page 3 of 10 Page ID
                                             #:3



 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Los Angeles County,
 8   California, and that all actions complained of herein take place in this district.
 9                                     FACTUAL ALLEGATIONS
10         10.    In or about July of 2024, Plaintiff went to the Business.
11         11.    The Business is a florist business establishment, open to the public, and is a
12   place of public accommodation that affects commerce through its operation.
13         12.    While attempting to enter the Business during each visit, Plaintiff personally
14   encountered a number of barriers that interfered with his ability to use and enjoy the
15   goods, services, privileges, and accommodations offered at the Business.
16         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
17   included, but were not limited to, the following:
18                a.     Defendants failed to maintain accessibility for persons with
19                       disabilities to comply with the federal and state standards. Defendants
20                       failed to provide at least one accessible entrance as required as the
21                       entrance had a step instead of a proper ramp.
22         14.    These barriers and conditions denied Plaintiff the full and equal access to the
23   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
24   patronize the Business; however, Plaintiff is deterred from visiting the Business because
25   his knowledge of these violations prevents him from returning until the barriers are
26   removed.
27         15.    Based on the violations, Plaintiff alleges, on information and belief, that
28   there are additional barriers to accessibility at the Business after further site inspection.



                                            COMPLAINT - 3
     Case 2:24-cv-08855-FMO-PVC       Document 1     Filed 10/15/24   Page 4 of 10 Page ID
                                            #:4



 1   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 2   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 3         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 4   knew that particular barriers render the Business inaccessible, violate state and federal
 5   law, and interfere with access for the physically disabled.
 6         17.    At all relevant times, Defendants had and still have control and dominion
 7   over the conditions at this location and had and still have the financial resources to
 8   remove these barriers without much difficulty or expenses to make the Business
 9   accessible to the physically disabled in compliance with ADDAG and Title 24
10   regulations. Defendants have not removed such barriers and have not modified the
11   Business to conform to accessibility regulations.
12                                     FIRST CAUSE OF ACTION
13          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
14         18.    Plaintiff incorporates by reference each of the allegations in all prior
15   paragraphs in this complaint.
16         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
17   shall be discriminated against on the basis of disability in the full and equal enjoyment of
18   the goods, services, facilities, privileges, advantages, or accommodations of any place of
19   public accommodation by any person who owns, leases, or leases to, or operates a place
20   of public accommodation. See 42 U.S.C. § 12182(a).
21         20.    Discrimination, inter alia, includes:
22                a.     A failure to make reasonable modification in policies, practices, or
23                       procedures, when such modifications are necessary to afford such
24                       goods, services, facilities, privileges, advantages, or accommodations
25                       to individuals with disabilities, unless the entity can demonstrate that
26                       making such modifications would fundamentally alter the nature of
27                       such goods, services, facilities, privileges, advantages, or
28                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).



                                           COMPLAINT - 4
     Case 2:24-cv-08855-FMO-PVC     Document 1      Filed 10/15/24    Page 5 of 10 Page ID
                                          #:5



 1               b.    A failure to take such steps as may be necessary to ensure that no
 2                     individual with a disability is excluded, denied services, segregated or
 3                     otherwise treated differently than other individuals because of the
 4                     absence of auxiliary aids and services, unless the entity can
 5                     demonstrate that taking such steps would fundamentally alter the
 6                     nature of the good, service, facility, privilege, advantage, or
 7                     accommodation being offered or would result in an undue burden. 42
 8                     U.S.C. § 12182(b)(2)(A)(iii).
 9               c.    A failure to remove architectural barriers, and communication barriers
10                     that are structural in nature, in existing facilities, and transportation
11                     barriers in existing vehicles and rail passenger cars used by an
12                     establishment for transporting individuals (not including barriers that
13                     can only be removed through the retrofitting of vehicles or rail
14                     passenger cars by the installation of a hydraulic or other lift), where
15                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
16               d.    A failure to make alterations in such a manner that, to the maximum
17                     extent feasible, the altered portions of the facility are readily
18                     accessible to and usable by individuals with disabilities, including
19                     individuals who use wheelchairs or to ensure that, to the maximum
20                     extent feasible, the path of travel to the altered area and the
21                     bathrooms, telephones, and drinking fountains serving the altered
22                     area, are readily accessible to and usable by individuals with
23                     disabilities where such alterations to the path or travel or the
24                     bathrooms, telephones, and drinking fountains serving the altered area
25                     are not disproportionate to the overall alterations in terms of cost and
26                     scope. 42 U.S.C. § 12183(a)(2).
27         21.   At least one accessible route shall connect accessible building, facilities,
28   elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public



                                          COMPLAINT - 5
     Case 2:24-cv-08855-FMO-PVC          Document 1    Filed 10/15/24   Page 6 of 10 Page ID
                                               #:6



 1   accommodation shall maintain in operable working condition those features of facilities
 2   and equipment that are required to be readily accessible to and usable by persons with
 3   disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 4         22.      Here, Defendants failed to provide at least one accessible entrance to the
 5   Business as the entrance had a step instead of a proper ramp.
 6         23.      A public accommodation shall maintain in operable working condition those
 7   features of facilities and equipment that are required to be readily accessible to and usable
 8   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 9         24.      By failing to maintain the facility to be readily accessible and usable by
10   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
11   regulations.
12         25.      The Business has denied and continues to deny full and equal access to
13   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
14   discriminated against due to the lack of accessible facilities, and therefore, seeks
15   injunctive relief to alter facilities to make such facilities readily accessible to and usable
16   by individuals with disabilities.
17                                 SECOND CAUSE OF ACTION
18                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
19         26.      Plaintiff incorporates by reference each of the allegations in all prior
20   paragraphs in this complaint.
21         27.      California Civil Code § 51 states, “All persons within the jurisdiction of this
22   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
23   national origin, disability, medical condition, genetic information, marital status, sexual
24   orientation, citizenship, primary language, or immigration status are entitled to the full
25   and equal accommodations, advantages, facilities, privileges, or services in all business
26   establishments of every kind whatsoever.”
27         28.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
28   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable



                                             COMPLAINT - 6
     Case 2:24-cv-08855-FMO-PVC        Document 1     Filed 10/15/24   Page 7 of 10 Page ID
                                             #:7



 1   for each and every offense for the actual damages, and any amount that may be
 2   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 3   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 4   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 5   person denied the rights provided in Section 51, 51.5, or 51.6.
 6         29.    California Civil Code § 51(f) specifies, “a violation of the right of any
 7   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 8   shall also constitute a violation of this section.”
 9         30.    The actions and omissions of Defendants alleged herein constitute a denial
10   of full and equal accommodation, advantages, facilities, privileges, or services by
11   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
12   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
13   51 and 52.
14         31.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
15   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
16   damages as specified in California Civil Code §55.56(a)-(c).
17                                  THIRD CAUSE OF ACTION
18                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
19         32.    Plaintiff incorporates by reference each of the allegations in all prior
20   paragraphs in this complaint.
21         33.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
22   entitled to full and equal access, as other members of the general public, to
23   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
24   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
25   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
26   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
27   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
28   places of public accommodations, amusement, or resort, and other places in which the



                                             COMPLAINT - 7
     Case 2:24-cv-08855-FMO-PVC       Document 1      Filed 10/15/24   Page 8 of 10 Page ID
                                            #:8



 1   general public is invited, subject only to the conditions and limitations established by
 2   law, or state or federal regulation, and applicable alike to all persons.
 3         34.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 4   corporation who denies or interferes with admittance to or enjoyment of public facilities
 5   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 6   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 7   the actual damages, and any amount as may be determined by a jury, or a court sitting
 8   without a jury, up to a maximum of three times the amount of actual damages but in no
 9   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
10   determined by the court in addition thereto, suffered by any person denied the rights
11   provided in Section 54, 54.1, and 54.2.
12         35.    California Civil Code § 54(d) specifies, “a violation of the right of an
13   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
14   constitute a violation of this section, and nothing in this section shall be construed to limit
15   the access of any person in violation of that act.
16         36.    The actions and omissions of Defendants alleged herein constitute a denial
17   of full and equal accommodation, advantages, and facilities by physically disabled
18   persons within the meaning of California Civil Code § 54. Defendants have
19   discriminated against Plaintiff in violation of California Civil Code § 54.
20         37.    The violations of the California Disabled Persons Act caused Plaintiff to
21   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
22   statutory damages as specified in California Civil Code §55.56(a)-(c).
23                                FOURTH CAUSE OF ACTION
24                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
25         38.    Plaintiff incorporates by reference each of the allegations in all prior
26   paragraphs in this complaint.
27         39.    Plaintiff and other similar physically disabled persons who require the use of
28   a wheelchair are unable to use public facilities on a “full and equal” basis unless each



                                            COMPLAINT - 8
     Case 2:24-cv-08855-FMO-PVC       Document 1      Filed 10/15/24   Page 9 of 10 Page ID
                                            #:9



 1   such facility is in compliance with the provisions of California Health & Safety Code §
 2   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 3   provisions of California Health & Safety Code § 19955 et seq.
 4          40.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 5   that public accommodations or facilities constructed in this state with private funds
 6   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 7   Title 1 of the Government Code. The code relating to such public accommodations also
 8   require that “when sanitary facilities are made available for the public, clients, or
 9   employees in these stations, centers, or buildings, they shall be made available for
10   persons with disabilities.
11          41.    Title II of the ADA holds as a “general rule” that no individual shall be
12   discriminated against on the basis of disability in the full and equal enjoyment of goods
13   (or use), services, facilities, privileges, and accommodations offered by any person who
14   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
15   Further, each and every violation of the ADA also constitutes a separate and distinct
16   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
17   award of damages and injunctive relief pursuant to California law, including but not
18   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
19                                   FIFTH CAUSE OF ACTION
20                                         NEGLIGENCE
21          42.    Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23          43.    Defendants have a general duty and a duty under the ADA, Unruh Civil
24   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
25   to the Plaintiff.
26          44.    Defendants breached their duty of care by violating the provisions of ADA,
27   Unruh Civil Rights Act and California Disabled Persons Act.
28




                                            COMPLAINT - 9
     Case 2:24-cv-08855-FMO-PVC        Document 1 Filed 10/15/24      Page 10 of 10 Page ID
                                             #:10



 1          45.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 2    has suffered damages.
 3                                     PRAYER FOR RELIEF
 4          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 5    Defendants as follows:
 6          1.     For preliminary and permanent injunction directing Defendants to comply
 7    with the Americans with Disability Act and the Unruh Civil Rights Act;
 8          2.     Award of all appropriate damages, including but not limited to statutory
 9    damages, general damages and treble damages in amounts, according to proof;
10          3.     Award of all reasonable restitution for Defendants’ unfair competition
11    practices;
12          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
13    action;
14          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
15          6.     Such other and further relief as the Court deems just and proper.
16                               DEMAND FOR TRIAL BY JURY
17          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
18    demands a trial by jury on all issues so triable.
19
20    Dated: October 15, 2024                 SO. CAL. EQUAL ACCESS GROUP
21
22
23                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
24                                                   Attorneys for Plaintiff
25
26
27
28




                                            COMPLAINT - 10
